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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

FRANCISCO RIZO AND             §
HERMELINDA RIZO                §
    Plaintiffs,                §
                               §
vs.                            §                            1:17-cv-00347
                               §                            Civil Action Number
STATE AUTO PROPERTY & CASUALTY §
INSURANCE COMPANY AND          §
DUSTIN CHARLES BRADFORD        §                                    Jury
     Defendants.               §

                          DEFENDANTS' NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendants, State Auto Property & Casualty Insurance Company and Dustin Charles

Bradford, file this Notice of Removal pursuant to 28 U.S.C. §l446(a), and would respectfully

show as follows:

                                                I.
                                       INTRODUCTION

1.      Plaintiffs are Francisco Rizo and Hermelinda Rizo ("Plaintiffs"); Defendants are State

Auto Property & Casualty Insurance Company ("State Auto") and Dustin Charles Bradford

("Bradford"). There are no other pruiies. See Plaintiffs' Original Petition, attached as Exhibit "A

- 1".

2.      On February 17, 2017, Plaintiffs filed Cause No. 2017CI02907, Francisco Rizo and

Hermelinda Rizo v. State Auto Property & Casualty Insurance Company and Dustin Charles

Bradford, in the District Court of Bexar County, Texas, 73'd Judicial District ("State Court

Action"). See Exhibit "A- 1". Plaintiffs' suit alleges breach of contract, violations of the Texas

Insurance Code, fraud, conspiracy to commit fraud, and the breach of good faith and fair dealing,




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relating to storm damage allegedly suffered at Plaintiffs' home located at 8434 Big Creek Drive,

San Antonio, Texas 78242. See Exhibit "A - 1". Plaintiffs demanded a trial by jury in their

Original Petition. See Exhibit "A-1."

3.     Citation was issued and State Auto was served with the suit on March 21, 2017. See

Exhibit "A - 5" and Affidavit of Sherri King, attached as Exhibit "B". Citation was issued to

Bradford and Bradford was served with the suit on April 3, 2017. See Exhibit "A - 6" and

Affidavit of Dustin Bradford, attached as Exhibit "C." State Auto and Bradford file this Notice

of Removal within the 30-day time period required by 28 U.S.C. §1446(b). Ed. of Regents of

Univ. ofTex. Sys. v. Nippon Tel. & Tel. Corp., 478 F.3d 274,278 (5th Cir. 2007).

4.     Plaintiffs have not filed any amended pleadings and no additional parties have been

joined. The State Court's docket sheet is attached hereto as Exhibit "A-7."

                                       II.
                     REMOVAL BASED ON DIVERSITY JURISDICTION

5.         Pursuant to 28 U.S.C. § 1332(a), State Auto and Bradford remove this case as it involves

a controversy between parties of diverse citizenship and an amount in controversy that exceeds

$75,000.

6.         Plaintiffs are citizens of Texas. See Exhibit "A- 1". State Auto is a foreign corporation

organized under the laws of the state of Iowa with its principal place of business located at 518

E. Broad Street, Columbus, Ohio 43215. See Exhibit "B". Bradford is a citizen of Ohio residing

at 9350 Wintersweet Court, Plain City, Ohio 43064. See Exhibit "C."

7.         Additionally, the amount in controversy exceeds $75,000, excluding interest and costs.

28 U.S.C. §1332(a). Plaintiffs' Original Petition seeks "monetary relief over $100,000 but not

more than $200,000." See Exhibit "A- 1".




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8.       State Auto and Bradford are the only defendants in this action; therefore, no consent is

needed for the removal of this case to federal court.

9.       An Index of Exhibits is attached as Exhibit "A". Copies of all pleadings, process,

orders, and other filings in the State Court Action are attached to this notice as Exhibits "A - 1"

through "A- 6", as required by 28 U.S.C. § 1446(a).

10.      Venue is proper in this district under 28 U.S.C. §144l(a) because the state court where

the suit has been pending is located in this District and within this Division.

11.      State Auto will promptly file a copy of this Notice of Removal with the clerk of the

court in the pending State Court Action.

                                             III.
                                       JURY DEMANDED

12.      Plaintiffs demanded a jury in the State Court Action.

                                                 IV.
                                             PRAYER

       WHEREFORE PREMISES CONSIDERED, Defendants pray that this case be removed

to the United States District Court for the Western District of Texas, San Antonio Division, and

that further proceedings in the State Court Action be discontinued, and that this Court assume

full jurisdiction over such action as provided by law.




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                                              Respectfully submitted,

                                                Is/ Sterling Elza
                                              Sterling Elza
                                              State Bar No. 24026823
                                              Alicia Murphy
                                              State Bar No. 24095005
                                              Brown, Dean, Proctor & Howell, L.L.P.
                                              306 West 7th Street, Suite 200
                                              Fort Worth, Texas 76102-4905
                                              Tel: .817/332-1391
                                              Fax: 817/870-2427
                                              Email: selza@browndean.com

                                              ATTORNEY FOR DEFENDANTS,
                                              STATE AUTO PROPERTY & CASUALTY
                                              INSURANCE COMPANY AND DUSTIN
                                              CHARLES BRADFORD


                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing was served upon

the Plaintiffs, by serving counsel of record, Gregory F. Cox, Mostyn Law, 6280 Delaware Street,

Beaumont, Texas 77706, (409) 832-2703, and Molly K. Bowen, Mostyn Law, 3810 W. Alabama

Street, Houston, Texas 77027 (713) 714-1111, via fax and certified mail, return receipt

requested, on this the 14th day of April, 2017.



                                                 Is/ Sterling Elza
                                              Sterling Elza




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